       Case 18-22013         Doc 34       Filed 10/26/18 Entered 10/26/18 10:29:03                   Desc Main
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                              IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE NORTHERN DISTRICT OF ILLINOIS
                                          EASTERN DIVISION

In re:                                                       )             Case No. 18-22013
Jennifer M Murukas                                           )             Chapter 13
                                                             )             Judge: Pamela S. Hollis
                             Debtor
                                                             )
                          NOTICE OF MOTION AND CERTIFICATE OF SERVICE

       Jennifer M Murukas                                          JOHN J LYNCH
       15243 Kenmare Circle                                        1011 WARRENVILLE RD #150
       Manhattan, IL 60442                                         LISLE, IL 60532

Please take notice that on November 02, 2018 at 11:30 am, a representative of this office shall appear before the
Honorable Judge Pamela S. Hollis, at the Joliet City Hall, 150 West Jefferson Street, 2nd Floor, Joliet, IL 60432 and
present the motion set forth below. Your rights may be affected. You should read these papers carefully and
discuss them with your attorney, if you have one in this bankruptcy case. (If you do not have an attorney,
you may wish to consult one.)

I certify that this office caused a copy of this notice to be delivered to the above listed debtor by depositing it in the
U.S. Mail at 801 Warrenville Road, Lisle, IL and to the debtor's attorney electronically via the Court's CM/ECF
system on October 26, 2018.

                                                                   /s/ Marifran Smith
                                                                   FOR: Glenn Stearns, Chapter 13 Trustee

       MOTION TO DISMISS FOR UNREASONABLE DELAY AND FAILURE TO MAKE PLAN PAYMENTS
    Now comes Glenn Stearns, Chapter 13 Trustee, and requests dismissal of the above case pursuant to
11 U.S.C. Section 1307 (c) and in support thereof, states the following:
  1.  The Debtor filed a petition under Chapter 13 on Monday, August 6, 2018.
  2.  The Debtor has failed to:
         a. Conclude the regularly scheduled Section 341 Creditor Meeting.
         b. Commence making timely plan payments.
  3. As a result, the Debtor has failed to comply with the Bankruptcy Code and has caused an unreasonable
  delay that is prejudicial to creditors.

    WHEREFORE, the Trustee prays this case be dismissed for cause pursuant to Section 1307 (c).
                                                                   Respectfully Submitted;

                                                                   /s/ Gerald Mylander

Glenn Stearns, Chapter 13 Trustee                                  FOR: Glenn Stearns, Chapter 13 Trustee
801 Warrenville Road, Suite 650
Lisle, IL 60532-4350
